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 4
 5   Attorney for Defendant
     JOSE LUIS ARREDONDO QUINTERO
 6
 7
                              IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                       Case No.: 08-104 EJG
11
12                     Plaintiff,                    STIPULATION AND ORDER
                                                     VACATING DATE, CONTINUING
13            vs.                                    CASE, AND EXCLUDING TIME
14
     JOSE LUIS ARREDONDO QUINTERO,                   DATE: April 25, 2008
15   and CARLOS ALBERTO ARELANNO                     TIME: 10:00 a.m.
16   LOPEZ,                                          JUDGE: Hon. Edward J. Garcia
17                     Defendants.
18
              IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19
     Mary Grad, Counsel for Plaintiff, Attorney Clemente M. Jiménez, Counsel for Defendant
20
     JOSE LUIS ARREDONDO QUINTERO, and Attorney Christopher Haydn-Myer,
21
     Counsel for Defendant CARLOS ALBERTO ARELANNO LOPEZ, that the status
22
     conference scheduled for April 25, 2008, at 10:00 a.m., be vacated and the matter
23
     continued to this Court’s criminal calendar on June 6, 2008, at 10:00 a.m. for further
24
     status conference.
25
              This continuance is mutually requested by both defendants in order to perform
26
     additional investigation.
27
              IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act, 18
28
     U.S.C. Section 3161 et seq. be tolled pursuant to Section 3161(h)(8)(A) and (B)(iv),


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 1   Local code T-4 (time to prepare), and that the ends of justice served in granting the
 2   continuance and allowing the defendant further time to prepare outweigh the best
 3   interests of the public and the defendant to a speedy trial.
 4
 5   DATED:            April 23, 2008           /S/    Clemente M. Jiménez_____
                                                       CLEMENTE M. JIMÉNEZ
 6                                                     Attorney for Defendant
 7                                                     Jose Luis Arredondo Quintero
 8
 9                                              /S/    Christopher Haydn-Myer________
                                                       CHRISTOPHER HAYDN-MYER
10                                                     Attorney for Defendant
11                                                     Carlos Alberto Arelanno Lopez
12                                              /S/    Mary Grad______________
13                                                     MARY GRAD
                                                       Attorney for Plaintiff
14
15
     IT IS SO ORDERED, that the status conference in the above-entitled matter, scheduled
16   for April 25, 2008, at 10:00 a.m., be vacated and the matter continued to June 6, 2008, at
17   10:00 a.m. for further status conference.

18   This 24th day of April, 2008
19
                                                       /s/ Edward J. Garcia
20                                                     HON. EDWARD J. GARCIA
21                                                     United States District Judge

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